68 F.3d 69
    76 A.F.T.R.2d 95-6882
    Alan K. LAUCKNERv.UNITED STATES of America, Appellant,v.John HUG;  Paul E. Costello;  Thomas J. Giacomaro;  UmbertoJ. Guido, Jr.;  William McGlynn;  Leonard A.Pellulo, Counterclaim Defendants.
    No. 94-5747.
    United States Court of Appeals,Third Circuit.
    Argued June 29, 1995.Decided Oct. 23, 1995.
    
      Loretta C. Argrett, Assistant Attorney General, Faith S. Hochberg, United States Attorney, Gary R. Allen, Richard Farber, (argued), Sara S. Holderness, Tax Division, United States Department of Justice, Washington, DC, for Appellant.
      Paul S. Hollander, Okin, Cohen &amp; Hollander, Fort Lee, NJ and Michael I. Saltzman (argued), Leslie M. Book, Stuart B. Katz, Baker &amp; McKenzie, New York City, for Appellee Umberto J. Guido, Jr.
      Present:  HUTCHINSON*, ROTH and WEIS, Circuit Judges.
      OPINION OF THE COURT
      PER CURIAM.
    
    
      1
      Appellant, the United States of America, appeals an order of the United States District Court for the District of New Jersey holding that an Internal Revenue Service ("IRS") assessment of a penalty against Umberto J. Guido, Jr.  ("Guido"), under section 6672 of the Internal Revenue Code (the "Code"), was time barred by the three year statute of limitations contained in Code section 6501(a).
    
    Section 6672 of Title 26 provides:
    
      2
      Any person required to collect, truthfully account for, and pay over any tax imposed by this title who willfully fails to collect such tax, or truthfully account for and pay over such tax, or willfully attempts in any manner to evade or defeat any such tax or the payment thereof, shall, in addition to other penalties provided by law, be liable to a penalty equal to the total amount of the tax evaded, or not collected, or not accounted for and paid over.
    
    
      3
      26 U.S.C.A. Sec. 6672 (West Supp.1994).  Section 6501(a) of the same title states that "[e]xcept as otherwise provided in this section, the amount of any tax imposed by this title shall be assessed within 3 years after the return was filed."  26 U.S.C.A. Sec. 6501(a) (West 1989).  Because the IRS's section 6672 assessment against Guido was made more than three years after the relevant returns were deemed to have been filed, the District Court held that the IRS's assessment was time barred.  The IRS contends the district court erred because no statute of limitations, including the one contained in section 6501(a) of the code, applies to IRS assessments under section 6672.  While it admits that it maintained a contrary position for over 30 years, it contends that recent decisions of the courts compel the conclusion that the IRS's prior interpretation of the statute is erroneous.
    
    
      4
      We disagree and will affirm the district court's order dismissing the IRS's section 6672 claim as time barred by the statute of limitations contained in Code section 6501(a) for the reasons given in the district court's opinion reported at Lauckner v. United States, No. 93-1594, 1994 WL 837464 (D.N.J. May 4, 1994).
    
    
      
        *
         The Honorable William D. Hutchinson participated in the oral argument and Opinion in the above case but died before the Opinion could be filed
      
    
    